                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON

 MARK MOORE, an individual,                          Case No. 3:20-cv-01962-IM

                Plaintiff,                           OPINION AND ORDER

        v.

 SPECIALIZED LOAN SERVICING,
 LLC; WF VICTORIA GRANTOR TRUST
 2016-3; WATERFALL ASSET
 MANAGEMENT, LLC; and U.S. BANK
 TRUST, N.A.,

                Defendants,

Leonard D. DuBoff. Edward T. Fu, The DuBoff Law Group, LLC, 6665 SW Hampton Street,
Suite 200, Portland, OR 97223. Attorneys for Plaintiff.

Garrett S. Garfield, Holland & Knight, LLP, 601 SW Second Avenue Suite 1800, Portland, OR
97204. Attorney for Defendants.

IMMERGUT, District Judge.

       This matter comes before the Court on Defendants Specialized Loan Servicing, LLC, WF

Victoria Grantor Trust 2016-3, Waterfall Asset Management, LLC, and U.S. Bank Trust, N.A.’s

(collectively, “Defendants”) Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6). ECF 15.

Plaintiff Mark Moore brings claims against Defendants for breach of the contractual duty of

good faith and fair dealing and intentional interference with prospective economic relations.




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       This Court finds that Plaintiff’s Complaint fails to state a claim upon which relief can be

granted for both of his claims against Defendants. Accordingly, Defendants’ Motion to Dismiss

is granted.

                                         BACKGROUND

       The following facts are taken from Plaintiff’s Complaint. See Wilson v. Hewlett-Packard

Co., 668 F.3d 1136, 1140 (9th Cir. 2012) (“On a motion to dismiss, all material facts are

accepted as true and are construed in the light most favorable to the plaintiff.”). On or around

May 19, 2007, Plaintiff executed a Home Equity Line of Credit Agreement (“HELOC

agreement”) with Discover Bank with a credit limit of $250,000. ECF 1 at ¶¶ 9–10. To secure

the loan, Plaintiff simultaneously executed a deed of trust on his residence in Beaverton, Oregon

for the benefit of Discover Bank. Id. at ¶ 9. The deed was junior to an existing senior mortgage

on Plaintiff’s residence. Id.

       The HELOC agreement provided a draw period during which Plaintiff could access the

credit and had a maturity date of May 19, 2017. Id. at ¶ 10. The HELOC agreement contained an

acceleration clause which made the entire loan balance due on the maturity date and did not

provide for a separate repayment period. Id. However, the HELOC agreement stated that the

lender had the discretion to extend the period to make payment. Id.

       On or about September 24, 2016, Plaintiff received notice that the HELOC agreement

and Trust Deed had been assigned to Defendant WF Victoria (“Victoria”) and would be serviced

by Defendant Specialized Loan Servicing (“SLS”). Id. at ¶ 11. Defendant Waterfall Asset

Management (“Waterfall”) is the owner and trustee of Victoria. Id. at ¶ 4. Defendant U.S. Bank

Trust, N.A. (“U.S. Bank”) is a trustee of Victoria. Id. at ¶ 5.




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       Around March 2017, Plaintiff was “made aware” that the HELOC agreement did not

contain a separate repayment period and that the entire balance owed was due on the maturity

date. Id. at ¶ 12. Plaintiff immediately began to make efforts to refinance both the HELOC and

the senior mortgage. Id. As of March 2017, Plaintiff’s balance on the HELOC was

approximately $225,000. Id. at ¶ 13. He had been making regular monthly payments of

approximately $650. Id.

       On or about April 18, 2017, Plaintiff submitted a Request for Mortgage Assistance

(“RMA”) to Defendant SLS requesting additional time to pay off the HELOC in the event he

could not obtain refinancing by the maturity date. Id. at ¶ 14. When he did not receive any

response, Plaintiff submitted another RMA. Id. Plaintiff submitted a total of four RMAs before

the maturity date of May 19, 2017 but could not obtain relief because the investor that owned the

loan did not participate in the relief program. Id. Plaintiff was unable to complete refinancing of

the HELOC by the maturity date. Id. at ¶ 16.

       Plaintiff provided regular telephone updates to Defendant SLS while he continued his

refinancing efforts. Id. at ¶ 15. During one such call, a representative of Defendant SLS informed

Plaintiff that Defendant SLS would not report any delinquencies on the HELOC to outside

parties until the delinquencies were over 90 days old. Id. Plaintiff understood this to mean that he

would have up to 90 days after the maturity date to obtain refinancing without the outstanding

HELOC balance adversely affecting his credit. Id.

       Plaintiff submitted two payments to Defendant SLS after the maturity date passed: one

via electronic payment on May 22, 2017, for $1,200 and another via check on June 20, 2017, for

$1,000. Id. at ¶ 16. The May 22, 2017 payment was received and processed by Defendant SLS

but the June 20, 2017 check payment was never deposited. Id.



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       In July 2017, Plaintiff obtained preliminary approval for approximately $500,000 in

financing from Mortgage Express for a new loan that would refinance both the senior mortgage

and the HELOC at a lower interest rate. Id. at ¶ 17. To close refinancing, Mortgage Express

needed to obtain a verification of Plaintiff’s HELOC from Defendant SLS. Id. Defendant SLS

provided a Verification of Mortgage to Mortgage Express on August 18, 2017. Id. The

Verification of Mortgage stated that Plaintiff had been delinquent zero times in both the present

and preceding year. Id. However, the Verification of Mortgage also contained the following

statement: “Days Delinquent excluding Grace days: 70.” Id. A representative from Mortgage

Express informed Plaintiff that she had never seen a Verification of Mortgage that said payment

history was perfect yet delinquent. Id.

       The seemingly contradictory information in the Verification of Mortgage led Mortgage

Express to request a “no score” credit report for Plaintiff. Id. at ¶ 18. The no-score credit report

showed that Defendant SLS had reported Plaintiff as being 60 days late on his HELOC

agreement payments despite Defendant SLS’s assurance that his delin quencies would not be

reported for 90 days. Id. Mortgage Express then requested that Defendant SLS provide a letter

stating that Plaintiff had never made any late HELOC agreement payments. Id. at ¶ 19. After not

receiving a response from Defendant SLS for two weeks, Mortgage Express followed up with a

phone call to Defendant SLS on August 31, 2017. Id. at ¶ 20. In response, Defendant SLS faxed

Mortgage Express a letter confirming that all payments made by Plaintiff from June 2014 until

the maturity date in May 2017 were on time. Id. The letter also stated that “[d]eliquency on this

loan did not occur until the loan reached the maturity date in which the balance was due in full.”

Id. Mortgage Express then requested that Defendant SLS provide an additional letter stating that




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Defendant SLS would not accept partial payments after the maturity date. Id. at ¶ 21. Defendant

SLS did not provide the requested letter. Id.

       On or about August 31, 2017, Plaintiff called Defendant Waterfall to discuss his loan and

was directed to Traci Newman. Id. at ¶ 23. Newman asked Plaintiff to provide any

documentation concerning his loan so she could forward it to Defendant SLS. Id. Plaintiff

provided the requested documentation as well as a summary and timeline of events to Newman

via email and on the telephone on September 1, 2017. Id. at ¶ 24. Plaintiff did not hear from

Newman or Defendant Waterfall again. Id.

       Plaintiff alleges that “[a]s a result of Defendant SLS’s contradictory statements regarding

the status of Plaintiff’s delinquency, Mortgage Express was prohibited by federal law from

providing conventional financing to Plaintiff.” Id. at ¶ 25. By that time, Defendant SLS had

reported a delinquency of over 90 days to credit reporting agencies. Id. at ¶ 26. Plaintiff was

therefore unable to obtain conventional financing from alternative lenders. Id.

       On or about January 31, 2018, Plaintiff received a Notice of Default and Notice of Intent

to Foreclose from Defendant SLS. Id. at ¶ 28. On February 24, 2018, Plaintiff submitted a

response to the Notice of Default and Notice of Intent to Foreclose requesting temporary relief in

lieu of foreclosure. Id. at ¶ 29. Plaintiff and Defendant SLS entered the pre-foreclosure mediation

process as required under Oregon law. Id. at ¶ 30. During this process, Defendant SLS’s

foreclosure counsel told Plaintiff that she had been specifically instructed to pursue foreclosure

on Plaintiff’s residence. Id. Plaintiff concluded that attempts to negotiate with Defendant SLS

would be futile and therefore liquidated his retirement accounts and paid the HELOC off in full

on November 14, 2018 to avoid foreclosure. Id. at ¶ 31.




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                                           STANDARDS

       A motion to dismiss for failure to state a claim may be granted only when there is no

cognizable legal theory to support the claim or when the complaint lacks sufficient factual

allegations to state a facially plausible claim for relief. Shroyer v. New Cingular Wireless Servs.,

Inc., 622 F.3d 1035, 1041 (9th Cir. 2010). In evaluating the sufficiency of a complaint’s factual

allegations, the court must accept as true all well-pleaded material facts alleged in the complaint

and construe them in the light most favorable to the non-moving party. Daniels-Hall v. Nat’l

Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010). To be entitled to a presumption of truth,

allegations in a complaint “may not simply recite the elements of a cause of action, but mus t

contain sufficient allegations of underlying facts to give fair notice and to enable the opposing

party to defend itself effectively.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). The court

must draw all reasonable inferences from the factual allegations in favor of the plaintiff. Newcal

Indus., Inc. v. Ikon Off. Sol., 513 F.3d 1038, 1043 n.2 (9th Cir. 2008). The court need not,

however, credit the plaintiff’s legal conclusions that are couched as factual allegations. Ashcroft

v. Iqbal, 556 U.S. 662, 678–79 (2009).

       A complaint must contain sufficient factual allegations to “plausibly suggest an

entitlement to relief, such that it is not unfair to require the opposing party to be subjected to the

expense of discovery and continued litigation.” Starr, 652 F.3d at 1216. “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “The plausibility standard is not akin to a

probability requirement, but it asks for more than a sheer possibility that a defendant has acted




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unlawfully.” Mashiri v. Epsten Grinnell & Howell, 845 F.3d 984, 988 (9th Cir. 2017) (quotation

marks omitted).

       Further, in deciding a motion to dismiss, courts may under certain circumstances look

beyond the four corners of the pleading without converting the motion into a summary judgment

motion under Rule 12(d). Specifically, courts can consider documents attached to the Complaint

as well as documents “not physically attached to the complaint . . . if the documents’

‘authenticity . . . is not contested’ and ‘the plaintiff’s Complaint necessarily relies’ on them.” Lee

v. Los Angeles, 250 F.3d 668, 668–89 (9th Cir. 2001) (quoting Parrino v. FHP, Inc., 146 F.3d

699, 705–06 (9th Cir. 1998)).

                                           DISCUSSION

A. Breach of Contractual Duty of Good Faith and Fair Dealing

       Plaintiff first claims that Defendants breached the implied covenant of good faith and fair

dealing by “obstructing Plaintiff’s efforts to refinance the HELOC by reporting a delinquency

before the delinquency was 90 days old, in issuing multiple written statements that described

Plaintiff’s payment history in contradictory terms, in refusing to issue a letter stating that

Defendant SLS would not accept late partial payments, and in failing to exercise its discretion to

extend the repayment period.” ECF 1 at ¶ 38.

       Every contract contains an implied duty of good faith which must be applied in a manner

that effectuates the objectively reasonable expectations of the parties. Uptown Heights Assocs.

Ltd. P’ship v. Seafirst Corp., 320 Or. 638, 645 (1995); Or. Univ. Sys. v. Or. Pub. Employees

Union, Loc. 503, 185 Or. App. 506, 515 (2002) (the duty of good faith and fair dealing is implied

“to fulfill the parties’ reasonable expectations”). “The obligation of good faith does not vary the

substantive terms of the bargain . . . nor does it provide a remedy for an unpleasantly motivated

act that is expressly permitted by contract or statute.” U.S. Nat’l Bank of Or. v. Boge, 311 Or.

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550, 567 (1991). A “party invoking its express, written contractual right does not, merely by

doing so, violate its duty of good faith.” Uptown Heights, 320 Or. at 645.

       Citing Uptown Heights, Defendants argue that their conduct as alleged in the Complaint

cannot state a claim for breach of the implied covenant of good faith and fair dealing because

their conduct was consistent with the parties’ objectively reasonable expectations. ECF 15 at 6–

9. In Uptown Heights, the plaintiff-borrower sued its lender asserting a claim for breach of the

implied contractual duty of good faith. 320 Or. at 641. The lender had financed the plaintiff’s

construction of an apartment building which the plaintiff struggled to make its monthly interest

payments on. Id. at 642. The lender agreed to a six-month extension on the loan and then

“assured” the plaintiff that it would “work with [the plaintiff] to resolve any problems

surrounding the loan.” Id. Nevertheless, the lender refused to grant the plaintiff a second

extension and instead initiated foreclosure proceedings. Id. at 642–43. The lender also refused

the plaintiff’s request to postpone those proceedings until after the plaintiff found a buyer. Id.

The lender instead foreclosed on the property and sold it to the same prospective buyer with

whom the plaintiff had negotiated. Id. at 643–44. The Oregon Supreme Court affirmed the

dismissal on the pleadings of the plaintiff’s claim for breach of contractual duty of good faith and

fair dealing, holding that the parties’ agreement did not contain any preconditions on the lender’s

ability to foreclose and that, “[u]nder those terms, ‘the parties agreed to —that is, reasonably

expected—a unilateral, unrestricted exercise of discretion’ in [lender’s] choice of foreclosure as

a remedy” in the case of the plaintiff’s default. Id. at 648 (quoting Pac. First Bank v. New

Morgan Park Corp., 319 Or. 342, 353 (1994)).

       Here, as in Uptown Heights, Plaintiff fails to show Defendants alleged conduct is

inconsistent with the parties’ objectively reasonable expectations. First, Defendant SLS’



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reporting Plaintiff’s delinquency to credit reporting agencies and refusal to accept late payments

do not contradict the parties’ reasonable expectations under the HELOC agreement of the deed

of trust. Plaintiff admits to not timely paying the HELOC upon maturity, in breach of the plain

terms of the agreement. ECF 1 at ¶ 16. Nothing in the HELOC agreement or the deed of trust

reflects that Plaintiff should not have expected that when payments under the account were

delinquent it would not be reported to credit reporting agencies or that late payments would be

accepted after the loan had matured. Like the lender’s assurance to work with the plaintiff in

Uptown Heights, Defendant SLS’s alleged assurance that it would not report Plaintiff’s

delinquency for 90 days did not alter the reasonable expectations of the parties that had been

negotiated into the contract.1

       Further, despite Plaintiff’s allegation that Defendants issued written statements describing

Plaintiff’s payment history in “contradictory terms,” the Verification of Mortgage Defendant

SLS sent to Mortgage Express was accurate. Given the May 19, 2017 maturity date, the August

18, 2017 Verification of Mortgage correctly reported that Plaintiff had been delinquent for 70

days. ECF 1 at ¶ 16. Similarly, when Mortgage Express later requested a letter stating that

Plaintiff had never made any late HELOC agreement payments, Defendant SLS faxed a letter

accurately confirming that all payments made by Plaintiff from June 2014 until the maturity date

in May 2017 were on time and that delinquency on the loan did not occur until after the loan

reached the maturity date. Id. at ¶¶ 19–20. And while Defendant SLS did not send a letter stating

it would not accept late partial payments in time for Plaintiff to refinance with Mortgage express,

nothing in the HELOC or deed of trust obligated Defendant SLS to expedite the production of



       1 Plaintiff notably did not attempt to distinguish Uptown Heights in his response to

Defendants’ motion, nor did he analogize to any cases where conduct similar to that alleged in
the Complaint stated a claim for breach of the implied covenant of good faith and fair dealing.
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paperwork needed to refinance Plaintiff’s HELOC. The loan documents do not create an

expectation that Defendant SLS should immediately provide all documents necessary upon

demand in order for Plaintiff to complete the refinancing of his loan. Especially when Plaintiff

was on notice since the day he executed the HELOC and deed of trust on May 19, 2007, over ten

years prior, that the full amount outstanding was due on the maturity date and that there was no

repayment period.

       Finally, Plaintiff’s allegation that Defendants’ “fail[ure] to exercise its discretion to

extend the repayment period” contradicted the reasonable expectations of the parties is belied by

the plain text of the HELOC agreement. See ECF 15 at Exhibit A. 2 The HELOC agreement

explicitly states that “[u]nless otherwise required by applicable law, [Defendants] are under no

obligation to refinance the balloon payment” after the maturity date passes. Id. Given this

language in the agreement, Plaintiff should have no reasonable expectation that Defendants

would extend the repayment period upon the maturity date. Additionally, “[i]n general,

reasonable expectations include the right of either party to further its own legitimate business

interests.” U.S. Genes v. Vial, 143 Or. App. 552, 559 (1996). Because Defendants were under no

contractual obligation to extend the repayment period, any alleged motive for not permitting the

extended payment plan is irrelevant. See Boge, 311 Or. at 567 (holding that the implied covenant

of good faith and fair dealing does not “provide a remedy for an unpleasantly motivated act that

is expressly permitted by contract”).



       2 Defendants attached a complete copy of the HELOC agreement referenced and partially

provided in the Complaint as Exhibit A to the Motion to Dismiss. Courts can consider documents
attached to the Complaint as well as documents “not physically attached to the complaint . . . if
the documents’ ‘authenticity . . . is not contested’ and ‘the plaintiff’s complaint necessarily
relies’ on them.” Lee, 250 F.3d at 668–89 (quoting Parrino v. FHP, Inc., 146 F.3d 699, 705–06
(9th Cir. 1998)).

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       In sum, the parties’ reasonable expectations turn on the terms of the HELOC agreement

itself and Defendants alleged conduct did not violate the terms of that agreement. While Plaintiff

may find Defendants’ actions objectionable, Plaintiff has failed to identify sufficient facts to state

a claim for a breach of the contractual duty of good faith and fair dealing.

B. Intentional Interference with Prospective Economic Relations

       Plaintiff’s second claim for relief alleges that “[w]ith knowledge of the prospective

economic relationship between Plaintiff and Mortgage Express, Defendants have intentionally,

wrongfully, and maliciously interfered with the same.” ECF 1 at ¶ 45. Plaintiff alleges that

Defendants obstructed his ability to refinance his HELOC. Yet Plaintiff fails to allege sufficient

facts showing what actions constituted such an interference, that any such conduct was

intentional, or that it involved improper means or an improper purpose.

       To state a claim for intentional interference with prospective economic relations a

plaintiff must prove: (1) the existence of a prospective economic advantage; (2) the intentional

interference with that prospective economic advantage; (3) by the defendant; (4) accomplished

through improper means or for an improper purpose; (5) a causal link between the interferen ce

and damage to the prospective economic advantage; and (6) damages. Kraemer v. Harding, 159

Or. App. 90, 104 (1999). The first element requires the existence of a prospective economic

advantage between the plaintiff and a third party. McGanty v. Staudenraus, 321 Or. 532, 535

(1995).

       Intentional interference with prospective economic relations claims serve “as a means of

protecting contracting parties against interference in their contracts from outside parties.” Id. at

536. To have a cognizable claim, the interference identified by the plaintiff must be “wrongful

by some measure beyond the fact of the interference itself,” which can take the form of

“improper motives or from the use of some improper means.” Top Serv. Body Shop v. Allstate

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Ins. Co., 283 Or. 201, 209 (1978); see Straube v. Larson, 287 Or. 357, 361 (1979) (holding that a

plaintiff must establish “not only . . . that defendant intentionally interfered with his business

relationship but also that defendant had a duty of non-interference; I.e., that [defendant]

interfered for an improper purpose rather than for a legitimate one, or that defendant used

improper means which resulted in injury to plaintiff. Therefore, a case is made out which entitles

plaintiff to go to a jury only ‘when interference resulting in injury to another is wrongful by

some measure beyond the fact of the interference itself.”).

       “If liability is based on improper means, ‘then the means must violate some objective,

identifiable standard, such as a statute or other regulation, or a recognized rule of common law,

or, perhaps, an established standard of a trade or profession.” Sharma v. Providence Health &

Services-Or., 289 Or. App. 644, 668 (2018) (quoting Northwest Nat’l Gas Co. v. Chase Gardens,

Inc., 328 Or. 487, 498 (1999)). “Examples of improper means include violence, threats or other

intimidation, deceit or misrepresentation, bribery, unfounded litigation, defamation, or

disparaging falsehood.” Grimstad v. Knudsen, 283 Or. App. 28, 57 (2016), rev. den., 361 Or. 350

(2017) (internal quotation marks omitted). And if liability “is to be based on [defendant’s]

purpose, then the purpose must be to inflict injury on the plaintiff as such.” Northwest Nat’l Gas

Co., 328 Or. at 498 (internal quotation marks omitted); see also Top Serv. Body Shop, 283 Or. at

212 (holding that evidence of acts that were “wholly consistent” with the defendant’s “pursuit of

its own business purposes as it saw them” did “not suffice to support an inference of the alleged

improper purpose to injure” the plaintiff).

       Plaintiff here alleges that Defendants interfered with his prospective economic

relationship with Mortgage Express by “reporting a delinquency before the delinquency was 90

days old, in issuing multiple written statements that described Plaintiff’s payment history in



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contradictory terms, in refusing to issue a letter stating that Defendant SLS would not accept late

partial payments, and in failing to exercise its discretion to extend the repayment period.” ECF 1

at ¶ 38. However, Plaintiff alleges no facts demonstrating that Defendants’ acts or omissions

were “wrongful by some measure beyond the fact of the interference itself.” Northwest Natural

Gas Co., 328 Or. at 488.

       Plaintiff alleges that after he submitted documents for consideration, Defen dants did not

provide him with mortgage refinance assistance because they did not participate in the assistance

program. ECF 1 at ¶ 14. Plaintiff next alleges that Defendant SLS correctly reported a

delinquency on his account despite him being under the impression that same would not occur.

Id. ¶ 15. Defendant SLS then allegedly did not clarify what Plaintiff believed to be an

inconsistency in a Verification of Mortgage provided to Mortgage Express and did not provide a

separate letter stating that he had never made late HELOC monthly payments and would not

accept partial payments after the Maturity Date. Id. ¶¶ 16-21. On these facts, one cannot

plausibly infer an attempt to intentionally interfere with Plaintiff’s refinancing attempts.

Moreover, Defendant SLS’ conduct, as alleged, cannot be reasonably construed as having been

accomplished through “improper means” or with an “improper motive.” Rather, all of Defendant

SLS’ actions were performed in accordance with the loan documents.

       Accordingly, Plaintiff has failed to state a claim for intentional interference with

prospective economic relations.

                                         CONCLUSION

       For these reasons, Defendants’ Motion to Dismiss, ECF 15, is GRANTED. Plaintiff’s

Complaint is DISMISSED with prejudice.




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     IT IS SO ORDERED.

     DATED this 3rd day of September, 2021.


                                              /s/ Karin J. Immergut
                                              Karin J. Immergut
                                              United States District Judge




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